Case 1:25-cv-00748-JKB Document17 Filed 03/07/25 Pagelof2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

STATE OF MARYLAND, et al., *

Plaintiffs, *

v. * CIVIL NO. JKB-25-0748
UNITED STATES DEPARTMENT OF *
AGRICULTURE, et al.,

*
Defendants.
* * * * * * ° * * * * * *

ORDER

As explained during the March 7, 2025 scheduling teleconference, it is ORDERED that:

1. Going forward, the shortened caption of this case shall be “STATE OF MARYLAND,
et al., Plaintiffs v. UNITED STATES DEPARTMENT OF AGRICULTURE, et al.,
Defendants.” This is the caption that should appear on all pleadings filed in this matter.

2. A HEARING on the Motion for Temporary Restraining Order (ECF No. 4) is SET IN
for March 12, 2025, at 9:30 a.m., in the J. Frederick Motz Ceremonial Courtroom,
United States Courthouse, 101 W. Lombard St., Baltimore, Maryland.

3. The parties may file briefs supporting or opposing the Motion for Temporary
Restraining Order on or before March 10, 2025, at 2:00 p.m. Briefs are invited but not
required. As explained during the teleconference, any briefing should address the
Plaintiffs’ standing, applying the principles set out in Lujan v. Defenders of Wildlife,
504 U.S. 555 (1992), the factors that might justify the entry of a temporary restraining
order, especially as set out in Winter v. Natural Resources Defense Council, Inc., 555

U.S. 7 (2008), and related underlying substantive issues.
Case 1:25-cv-00748-JKB Document17 Filed 03/07/25 Page 2of2

4. The parties SHALL ADVISE the Court of any intention to present evidence at the
hearing, including a statement of the form such evidence will likely take, on or before

March 10, 2025, at 2:00 p.m.

Dated this 7 day of March, 2025.

BY THE COURT:

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James K. Bredar
United States District Judge

